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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA

        Plaintiff,                                    Crim. No. 96-114 (DRD)

        V.                                            ORDER DISMISSING MOTION

FRANKIE GONZALEZ,

        Defendant.


        Defendant, Frankie Gonzalez, having filed a motion executed July 20, 2012 asking the

Court “to clarify which version of the indictment is to be used for future filings and why the

Redacted version of the indictment in this case, is not signed or endorsed;” and the Court finding

i) Counts 3 and 8 of the Third Superseding Indictment were dismissed as to Defendant, which

resulted in the Redacted Third Superceding Indictment, and ii) the Redacted Third Superceding

Indictment was agreed to by all parties; it is the conclusion of the Court: i) there was no reason

why the Redacted Third Superceding Indictment should be signed; ii) Defendant should refer to

the Redacted Third Superceding Indictment for any future filings; iii) Defendant has stated no

basis for his motion.

       IT is this 15
                  th
                     day of October, 2012 ORDERED that Defendant’s motion executed July

30, 2012 is dismissed.




                                                              DICKINSON R. DEBEVOISE
                                                                   U.S.S.D.J.
